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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         )
                                                 )
               v.                                )   No.    1:22-mj-76 (GMH)
                                                 )
ARIAN TAHERZADEH &                               )
HAIDER ALI,                                      )
                                                 )
                          Defendants.            )

     GOVERNMENT’S RESPONSE TO COURT’S APRIL 11, 2022 ORAL ORDER

       In response to the Court’s oral order during the Detention Hearing on April 11, 2022, the

Government provides the following information:

       Witness 6, a former United States Marine, stated that Defendant Haider Ali represented

himself to be a federal agent and an employee of the federal government and that Defendant Arian

Taherzadeh represented himself to be an HSI Agent. Witness 6 stated both Taherzadeh and Ali

were involved in the recruitment process. For instance, Witness 6 stated that Ali accompanied him

to MPD to be fingerprinted. Witness 6 also stated that, while in an apartment at 949 1st Street SE,

the apartment complex where the defendants reside, he observed a Glock 19 firearm and a Sig

Sauer 229 firearm in the presence of both Taherzadeh and Ali. In addition, Witness 6 reported

seeing an M4 variant rifle and related, illegal firearms equipment—on multiple occasions—in

Taherzadeh’s apartment. Witness 6 also saw Taherzadeh in possession of an AR Pistol with a

modified brace.

       Witness 7 stated that Ali clamed to work as federal law enforcement officer of the

Department of Justice. Ali produced at least two pieces of identification that he used to support

these claims including what appeared to be a building access badge and badge that may have

identified himself as a DOJ employee. According to Witness 7, one night, Ali introduced Witness
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7 and he/her friends to Taherzadeh and Individual A, whom Ali represented to be a United States

Secret Service Agent. Witness 7 stated that Taherzadeh claimed to work for a special law

enforcement unit investigating federal crimes, was affiliated with the Department of Homeland

Security (DHS), and had prior military experience. In furtherance of these claims, Witness 7 said,

Taherzadeh produced identification cards, including a military ID, a badge displaying law

enforcement markings, and a card that displayed a DHS identifier. During this encounter, Witness

7 observed at least two handguns, one holstered on Taherzadeh’s waist and a second on a mantle.

                                                    Respectfully submitted,

                                                    MATTHEW M. GRAVES
                                                    UNITED STATES ATTORNEY


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